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WSU-SOM Professionalism Hearing
February 8, 2019
Minutes

Chair: Matt Jackson, PhD

Voting Members Present: Collins, Joshua; Kupsky, William; Lasley, Robert; Levine, Diane; Rossi,
Noreen; Walker, Paul

Other Members Present: DeLeeuw, Jessica; Nesbitt, Elizabeth; Roberts, Erika

Charged Party: Anthony Eid, M2 Class President

Charging Party: J and Pam

9:00 AM: Dr. Jackson called the meeting to order. Committee members reviewed the case file,

9:54 AM: Ms, and Mrs. Si) (GE) mother) arrived. Ms. (J provided a statement to
the committee.

Ms. a explained that the she met Mr. Eid one time during a 10-minute encounter at an
annual main campus event, Festifall, in the fall of 2016. Mr. Eid offered to send Ms. J his
old exams for an introductory Biology course. After their meeting, Mr. Eid claimed that his
iCloud and Snapchat accounts were being hacked and insisted that Ms. [J got access to his
account when he sent her the Biology exams. Over a two-year period, Mr. Eid contacted Ms.
GE oumerous times via text message and Facebook messenger (screenshots included in file)
asking for her iCloud account password so that he could allegedly unlink her account from his.
Ms. (MJ explained that while she knew Mr. Eid’s explanation was spurious, she caved to his
demands in hopes that he would stop contacting her. Ms. {J created a temporary
password and gave it to Mr. Eid so that he could unlink their accounts. While Ms. ia
changed her password again after giving it to Mr. Eid, she suspected some of her accounts were
being hacked due to unusual activity.

An email (impersonating Ms. [J was sent via an unfamiliar Gmail account to a
photographer Ms. [J worked with asking for the file of photos from the shoot. Ms.
explained that she had posted some of the more conservative pictures on her Instagram, but
the overall tone of photos were intimate. The photographer called Ms. a directly about
the inquiry so the impersonator did not end up with her pictures.

Additionally, someone hacked into Ms. J snapchat account and sent a message
(impersonating her) to her ex-boyfriend asking for old nude pictures of her. Ms. SE ex-
boyfriend contacted her about the suspicious message. She realized someone was hacking her
account, so she quickly turned on the GPS feature of the app. The GPS feature allows users live
location to be visible by any of the user’s friends on the app. Ms. a said that she was

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booted off the app immediately after she turned the GPS feature on her account, which she
believes was the result of someone else being logged into her account. Ms. { friend was
with her and pulled up the Snapchat app on her phone. She saw that Ms. location was
showing up as near WSU’s campus (screenshot included in file), on the corner of Selden and
Gibson. Ms. {J was not physically on-campus at the time. She immediately suspected Mr.
Eid was the one hacking her account, but did not have any way of confirming her suspicion. Ms.
a explained that she believed it was Mr. Eid since he was the only one who had access to
her accounts, and did not have any reason to assume it was anyone else. When asked why she
though Mr. Eid wanted to gain access to her accounts, Mr. aa said she believes he wanted
to gain access to her personal photos.

Dr. Jackson pulled up Mr. Eid’s student profile in STARS which listed his current address as 1247
Selden. Ms, Roberts searched the address iPhone Maps and confirmed that Mr. Eid’s address is
the located on the corner of Selden and Gibson. Ms. and Mrs. were visible shaken upon
hearing this.

According to Ms. {J the account hacks and imposter Instagram accounts stopped in
August 2018 after she persistently told Mr. Eid to stop contacting her. Mr. Eid had ceased
contacting vs. until October 26, 2018, when he texted her stating that his lawyer sent
Ms. { an email regarding a court hearing she was allegedly being summonsed for on
November 15, 2018. Ms. indeed received an email from a lawyer, Alexander Wolff-
Smith, claiming to be from a law firm in Lake Orion. To confirm the legitimacy of the email, Ms.
GB called the law firm and confirmed that an Alexander Wolff-Smith does not work there.
She also noticed that the address of the law firm was slightly doctored from that of the actual
law firm in Lake Orion. Additionally, Mrs. a pulled the 36"" District Court docket
(screenshot included in file) for the court date noted in the email from Mr. Eid’s lawyer.
Numerous cases were on the docket that day for individuals with the last name

GB was not one of them.

Ms. a said that she felt horrified during the two-year period of harassment. She also
regularly experienced anxiety due to the potential of running into Mr. Eid on campus. Ms.
GE was fearful of what he would do if they crossed paths. Due to anxiety, both related and
unrelated to the incident with Mr. Eid, Ms. a dropped out of WSU and moved to Colorado
Springs, Colorado, Ms. a said that she is much happier living and working in Colorado.
Mrs. a said that her and her husband have been fearful for ii because of Mr. Eid,
and feel somewhat of a relief now that she is living across the country.

Mrs. (J explained that she contacted Dr. Chadwell after main campus’ investigation
through the Dean of Students Office on main campus did not fully address the incident nor
involve the SOM, Mrs. {MM is a nurse at Children’s Hospital and was encouraged by
physicians that she works with the further pursue the issue with the SOM directly. Both she and

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Ms. SM are worried that Mr. Eid is capable of doing the same thing or much worse to
others, especially vulnerable individuals as a medical student and future physician. Mrs. and
Ms. SM believe Mr, Eid should not be allowed to become a physician, and are seriously
concerned about potential retribution from Mr. Eid as a possible result of him being dismissed
from medical school. Dr. Jackson assured Mrs. and Ms. J that he would maintain contact
with public safety, Dr. Jackson also asked Mrs. and Ms. [J to contact him or Dr, Chadwell
immediately if Mr. Eid tries to contact her.

10:33 AM: Ms. and Mrs. i left. The committee briefly discussed Mrs. and Ms.
testimony.

10:37 AM: Ms. Roberts called Student Affairs and asked them to send Mr. Eid over to the
hearing in Scott Hall 2238. Mr. Eid was asked to wait in Student Affairs in order to avoid a run-in
between him and Mrs. and Ms. i while they were on-campus for the hearing.

10:50 AM: Mr. Eid arrived. Anthony Eid read the statement he provided (included in file) to the
committee and also detailed the action plan he devised to remediate his unprofessional
behavior. In his action plan, Mr. Eid said he would:
1. Start meeting with a psychiatrist regularly. His first appointment is scheduled for
February 13.
2. Meet with Ms. Robichaud at least once a month.
Take an online ethics class this summer.
4. Requested an opportunity to write apology letter to Ms. J and have someone from
committee deliver it to her.
5. Write a reflection on the incident.

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Mr. Eid explained that his accounts, including Capitol One and ESPN, were began getting hacked
around 3-4 months after his one-time meeting with Ms. J Mr. Eid said he believes Ms.
GB was the one hacking his accounts since he gave her his iCloud password in the process
of sending the Biology exams at Festifall, Mr. Eid stated that he has various accounts, including
Capitol One, linked to his iCloud account. After changing his password numerous times, he was
still getting hacked. Mr. Eid explained that although he told Ms. J via text that he has
shared his password with other people, he admitted lying to Ms. [J so that she would take
the situation seriously. Mr. Eid said that Ms. MJ is the only person who had his iCloud
password. Additionally, when questioned about his contact with Apple Support, the Police, and
a lawyer, Mr. Eid admitted that he lied about having engaged with any of those entities. He
stated that he wanted Ms. MJ take the situation with his account being hacked seriously.
Mr. Eid said that although he gave Ms. {J the impression he had a lawyer, he lied. When
asked numerous times if he sent the email impersonating a lawyer or if he knew who would
have done so on his behalf, Mr. Eid denied both. The email {included in file) is timestamped for
Thursday, October 25, 2018. The committee questioned why Mr. Eid sent a text (screenshot

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included in file) to Ms. J asking if she had received the email his lawyer sent the day prior.
Mr. Eid again stated that he did not have a lawyer (or knew who sent the email), and that he
just wanted Ms. J to take the situation seriously. When Dr. Rossi told Mr. Eid that habitual
lying is a character flaw, and he agreed. Dr. Rossi went on to note that character flaws are
extremely difficult to correct, if not impossible; she asked Mr. Eid’s thoughts on that since he
studied Psychology as an undergraduate. Mr, Eid agreed with Dr. Rossi’s statement, but
explained that he would work extremely hard to correct his behavior.

When the committee asked Mr. Eid if he had accessed any of Ms. {MJ accounts, he denied
hacking into her accounts. Dr. Jackson asked Mr. Eid to confirm his address during October
2017. Mr. Eid said that he was living at his current residence, 1247 Selden, just off-campus.

The committee asked Mr. Eid if he believed his behavior towards Ms. 7 was harassment.
Mr. Eid said that he did not know of the formal definition of harassment, but does not believe
he was harassing Ms. a Dr. Levine explained that harassment is repeated unwanted
contact, and that Mr. Eid was exhibiting that. Mr. Eid also noted that this is the only incident
where he exhibited unprofessional behavior. Additionally, he referenced his good record at
WSU for the past 9 years and does not want to tarnish it. Mr. Eid was a part of Student Senate
during his undergraduate, and is the current President for the Class of 2021.

in his closing statements, Mr. Eid reiterated many of the thoughts mentioned in his opening
statement. He would like the opportunity to remediate his behavior. He stated that he has
always wanted to be a physician and would be devastated if he could not become one.

10:50 AM: Mr. Eid left the hearing, and the committee deliberated.

Although the committee does not know whether Mr. Eid sent the email impersonating the
lawyer, they believe the other evidence is enough to base their decision on. The committee
focused on Mr. Eid’s repeated lying and harassment towards Ms. {I as well as the
screenshot of Ms. {J snapchat location appearing as Mr. Eid’s residence. The committee
unanimously decided that Mr. Eid’s behavior was not consistent with that of a future physician,
and that they do not feel comfortable letting Mr. Eid further pursue his medical education.

Dr. Walker made a motion that the Professionalism Committee recommend to the Promotions
Committee that Mr. Eid be dismissed from the SOM. Dr. Collins seconded. The committee was
unanimously in favor.

12:11 PM: Dr. Jackson dismissed the committee.

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